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EXHIBIT A
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Case No. 1:25-cv-11048-ADB
President and Fellows of
Harvard College,
Plaintiff,
v.

United States Department of Health
and Human Services; et al.,

Defendants.

[PROPOSED] AMICUS CURITAE BRIEF

This case is not a routine dispute over administrative procedure. It is the product of a jurisdictional
fabrication, an orchestrated litigation strategy designed to manufacture expedited declaratory relief
where no lawful entitlement exists. Harvard's filings reflect not technical oversight, but structural
dishonesty: a coordinated scheme to misclassify the nature of this action, manipulate jurisdictional
thresholds, and leverage procedural distortions to override binding constitutional precedent. This
proposed amicus brief is submitted to assist the Court in evaluating the broader legal and

institutional consequences of allowing such tactics to proceed unchecked.
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Case No. 1:25-cv-11048-ADB
President and Fellows of
Harvard College,
Plaintiff,

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United States Department of Health
and Human Services; et al.,

Defendants. ~~

MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF

Robert A. Pietz, appearing pro se, respectfully moves for leave to file the attached materials in

the above-captioned matter, and states as follows:

1. This case is not a routine dispute over administrative procedure. It presents grave
structural concerns involving jurisdictional fabrication, procedural misrepresentation, and tri-
branch manipulation, directly implicating the integrity of constitutional adjudication and the

faithful application of the Court’s Local Rules.
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JURISDICTIONAL FRAUD THROUGH MISCLASSIFICATION, DECLARATORY
GAMING, AND TRI-BRANCH MANIPULATION

A. Harvard’s Jurisdictional Scheme Begins with Procedural Fraud

1. Case No. 1:25-cv-11048-ADB should be dismissed, consolidated, or stayed because
it is not a legitimate lawsuit.

2. It is a jurisdictional fabrication. A deliberate procedural scheme designed to
manufacture expedited declaratory relief where no lawful entitlement exists.

3.  Harvard’s strategy begins with a fundamental procedural misrepresentation: its
improper use of Nature of Suit Code “899” on the civil form sheet [ECF No. 1-11] to falsely
certify its APA challenge as a Category II case under Local Rule 40.1, a category reserved for
civil enforcement actions, not for administrative review.

4. Under the plain text of the Court’s Local Rules (effective October 1, 2023), Nature
of Suit Code 899 is properly assigned to Category IH, which governs standard administrative
agency review cases. See Local Rule 40.1(a)(1), p. 56.

5. Category III cases, including APA actions, are randomly assigned, proceed under a
standard civil timeline, and are not entitled to expedited docketing or preferential judicial handling,
a structure designed to preserve the neutrality of administrative review and safeguard the
separation of powers.

6. By knowingly misclassifying this APA challenge as a Category II case, Harvard:

e Manipulated judicial assignment to secure Judge Allison D. Burroughs, who was
already presiding over its related AAUP lawsuit (No. 1:25-cv-10910-ADB),
e Illegitimately triggered accelerated scheduling procedures unavailable to normal

APA claims,
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«And falsely reframed a routine administrative dispute as an emergency
constitutional controversy demanding immediate adjudication.
7. Harvard cannot shift responsibility for this misclassification onto clerical error or
reliance on the Court’s civil form sheet.
8. As a litigant admitted to practice before the District of Massachusetts, Harvard’s
counsel had a non-delegable duty to understand and correctly apply the Local Rules.
9. Local Rule 40.1(a)(1) plainly classifies APA challenges under Category LIT.
10. Any failure to comply with that assignment standard is the fault of the filer, not the
Clerk’s Office, not the civil form sheet, and not the Court’s administrative materials.
11. Harvard’s misclassification is therefore a deliberate procedural abuse, not a
harmless or excusable oversight.
12. This procedural distortion corrupts the jurisdictional threshold. Jurisdiction demands
not only standing, but the good-faith invocation of judicial process.
13. Here, Harvard weaponized procedural misrepresentation to stage a political and
financial end-run around ordinary administrative review, manipulating both judicial assignment

and case management to create an appearance of urgency where none lawfully exists.

B. Misclassification as a Springboard for Declaratory Gaming
14. Harvard’s misclassification was not a clerical error. It was the keystone of a broader
jurisdictional strategy: improperly invoking 28 U.S.C. §§ 2201-2202 (the Declaratory Judgment
Act) as the engine driving Case No. 1:25-cv-11048-ADB.
15. Unlike the AAUP suit (No. 1:25-cv-10910-ADB), which lacked a clean declaratory

framework, Harvard’s 1:25-cv-11048-ADB Complaint was surgically constructed to:

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e Demand expedited declaratory relief (Prayer “a’’),

« Secure a judicial declaration that the Department of Education’s so-called “Freeze
Order” is unlawful (Prayer “b”),

» And obtain injunctive remedies mechanically flowing from that declaration
(Prayers “c”-“g”).

16. By misclassifying its APA challenge as a Category II case while sintultaneously
invoking §§ 2201-2202, Harvard evaded the deliberate and rigorous structure APA litigation
demands, gaining illicit procedural advantages.

17. Harvard’s plan is simple: If it secures a favorable declaratory judgment in 1:25-cv-
11048-ADB, it will immediately attempt to tether that result to 1:25-cv-10910-ADB by:

« Asserting issue preclusion and collateral estoppel;

« Maintaining Category II expedited treatment across both dockets;

e And politically repositioning itself as a judicially validated victim of government
overreach, despite having evaded meaningful constitutional scrutiny.

18. In effect, Harvard seeks to /aunder its constitutional defeat through artificially
manufactured declaratory relief, gaining procedural leverage it could never achieve through

substantive adjudication alone.

HARVARD’S LITIGATION STRATEGY MANIPULATES ALL THREE BRANCHES
OF GOVERNMENT AND BETRAYS DEMOCRATIC FEEDBACK

Executive

1. Harvard’s assault on the executive branch is equally clear.
2. Having lost on the merits in Students for Fair Admissions - a case brought by

Harvard’s own democratically admitted body of students through the judicial process - Harvard
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now seeks to weaponize taxpayer funds to defend an incomprehensibly vague and incomplete list
of agencies, in a last-ditch effort to reverse the people’s democratic outcome not once, but twice.

3. Rather than accept the judiciary’s lawful and democratically grounded confirmation
that its admissions practices violated constitutional mandates, Harvard attempts to reframe its
funding loss as an “unconstitutional punishment,” coercing the executive branch not merely
through legal argument, but by siphoning public funds and commandeering government time and
resources to defend Harvard’s private institutional interests.

4. This is not a defense of rights.

5. It is an attempt to force the American people, through their government, to subsidize
continued constitutional noncompliance by a private institution that the vast majority of Americans
will never have the opportunity to attend.

6. This tactic distorts the Spending Clause framework beyond recognition.

7. It compels taxpayers to finance a private rebellion against a lawful constitutional
judgment.

8. It forces the executive branch to defend a myriad of unnamed and improperly
identified agencies, stitched together through confusion and deliberate omission, at the direct

expense of the public whose interests the executive branch is sworn to protect.

Legislative Manipulation
9. Harvard’s conduct also constitutes a direct attack on Congress’s constitutional
authority.
10. By twisting 28 U.S.C. §§ 2201-2202 (the Declaratory Judgment Act) Harvard seeks

to achieve jurisdictional outcomes Congress never authorized: namely, fast-track declaratory
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judgments detached from final agency action, without satisfying the ordinary prerequisites of APA
review or Article III case-or-controversy requirements.
11. For more than half a century, federal courts have consistently interpreted the
Declaratory Judgment Act narrowly:
e The Act does not independently confer jurisdiction;
« Declaratory relief is only appropriate where there exists a real, live controversy
satisfying traditional standing, causation, and redressability;7
e Courts are required to exercise discretion even where jurisdiction exists, weighing
prudential concerns such as finality, ripeness, and avoidance of piecemeal
adjudication;>
12. Rather than seeking legitimate clarification or challenging the statute’s limits through
proper appellate channels, Harvard invokes 2201 and 2202 out of context, attempting to use
legislative authorization as a procedural weapon after already initiating parallel litigation that has
cost taxpayers millions of dollars in government defense expenditures.
13. Instead of respecting the boundaries Congress and the judiciary have imposed on
declaratory relief, Harvard uses the Declaratory Judgment Act:
¢ To manufacture a procedural fast track unavailable under traditional APA
standards,
« To sidestep standing defects by framing non-final threats as “final” disputes,
And to manipulate the very executive agencies and departments it is

simultaneously suing across two coordinated lawsuits (1:25-cv-10910-ADB and
1:25-cv-11048-ADB).

1 Skelly Oil Co. v. Phillips Petroleum Co., 339 U.S. 667, 671-72 (1950) (“The operation of the
Declaratory Judgment Act is procedural only. Congress enlarged the range of remedies available
in the federal courts but did not extend their jurisdiction.”).

"2 MedIimmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007) (requiring a “definite and
concrete” dispute to satisfy Article III standing requirements for declaratory relief).
3 Wilton v. Seven Falls Co., 515 U.S. 277, 282-83 (1995) (“District courts possess discretion in
determining whether and when to entertain an action under the Declaratory Judgment Act, even
when the suit otherwise satisfies subject matter jurisdictional prerequisites.”).

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14. Harvard does not merely misunderstand the Declaratory Judgment Act.
15. It deliberately distorts a legislative tool intended to safeguard constitutional
adjudication into a procedural bludgeon, weaponizing Congress’s work against the very

constitutional structure it was designed to protect.

Judiciary Manipulation

16. Harvard’s manipulation of the judiciary did not begin with the procedural
misclassification in Case No. 1:25-cv-11048-ADB.

17. It began earlier, with the filing of Case No. 1:25-cv-10910-ADB (the AAUP lawsuit),
where a private professors’ union, represented by private counsel, alleged constitutional injury
ostensibly suffered by itself, while simultaneously requesting relief that would only apply to
Harvard University, a party not even named in the suit.

18. This initial disrespect for judicial structure - suing on behalf of unnamed third parties
without proper standing, while misrepresenting the locus of alleged harm - set the foundation for
the further procedural abuses that followed.

19. In 1:25-cv-11048-ADB, Harvard escalated the manipulation by misclassifying
Nature of Suit Code 899, rigging judicial assignment to Judge Allison D. Burroughs through
Category II misfiling under Local Rule 40.1.

20. By invoking 28 U.S.C. §§ 2201-2202 under false pretenses, Harvard sought not
genuine declaratory relief, but a procedural weapon to achieve expedited rulings without meeting
the substantive requirements of Article III standing.

21. Beyond procedural fraud, Harvard’s attack on the judiciary extends to open defiance

of constitutional adjudication itself.
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22. Having lost at every level of the federal judiciary (including after a change of
presidential administration and cabinet leadership), Harvard now mocks the legitimacy of the very
judicial system it invokes, claiming constitutional injury while disregarding final judgments
rendered through exhaustive constitutional review.

23. Its strategy turns the indieinny into a political theater rather than a forum for lawful
adjudication, reducing constitutional loss to an administrative inconvenience to be procedurally

circumvented.

CONCLUSION
Harvard’s litigation strategy is not a good-faith effort to protect constitutional rights, it is a
procedural end-run designed to undo constitutional loss through jurisdictional fraud, declaratory
gaming, and institutional misdirection. The misuse of the civil form sheet [ECF No. 1-11], the
misapplication of jurisdictional statutes, and the coordinated abuse of the federal judiciary all
reflect a deliberate attempt to exploit the courts, the executive branch, and Congress itself. This
Court should reject Harvard’s attempt to repackage institutional defiance as constitutional injury
and decline to reward tactics that, if left unchecked, would erode the structural integrity of

administrative review and transform declaratory relief into a political weapon.

Respectfully submitted, ~
Amicus Curiae, pro se

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